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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                               TYLER DIVISION
____________________________________
                                     )
TEXAS MEDICAL ASSOCIATION, et al., )
                                     )
                  Plaintiffs,        )
                                     )
            v.                       )   Civil Action No. 6:22-cv-00372-JDK
                                     )
U.S. DEPARTMENT OF HEALTH AND )          Lead Consolidated Case
HUMAN SERVICES, et al.,              )
                                     )
                  Defendants.        )
____________________________________)



                 DEFENDANTS’ REPLY IN SUPPORT OF THEIR
                  CROSS-MOTION FOR SUMMARY JUDGMENT
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                                           INTRODUCTION

        Plaintiffs challenge a final rule issued by the Defendants—the Departments of the Treasury,

Labor, and Health and Human Services (the “Departments”) —that establishes a process under which

arbitrators will resolve payment disputes between health care providers or facilities and group health

plans or health insurance issuers under No Surprises Act (the “NSA” or the “Act”). The Act prohibits

health care providers and facilities, in certain circumstances, from balance billing patients for out-of-

network items or services. In lieu of recovering reimbursement for those services directly from

patients, if the provider and the health insurance plan or issuer cannot agree on a payment amount

through negotiation, the Act creates an independent dispute resolution (“IDR”) process in which an

arbitrator selects among offers of payment submitted by each party.

        Congress left to the Departments the duty to establish by regulation the process under which

the arbitrators decide which offer to select. Consistent with that Congressional command, the

Departments issued reasonable procedural and evidentiary rules that provide a methodology to guide

arbitrators in the decision-making process. The final rule, just like the Act, instructs arbitrators to

consider the qualifying payment amount (“QPA”)—a term of art for the median in-network

contracted rate for the same item or service and a rough proxy for the fair market rate—and all other

permissible information submitted by the parties, but not to give weight to information that is

noncredible, irrelevant, or duplicative. The final rule leaves entirely to the discretion of the arbitrators

how to weigh credible, relevant and nonduplicative information in carrying out their ultimate task: to

select the offer that best represents the value of the item or service at issue. The final rule also follows

the statutory directive that places the responsibility for monitoring the accuracy of the QPA with the

Departments, not the arbitrators, furthering Congress’s goal of an efficient and cost-effective

arbitration process.

        Plaintiffs lack standing to challenge the final rule. Because the portions of the final rule that

Plaintiffs challenge do not govern which offer the arbitrator should ultimately select, their claim of

injury ultimately falls flat: it is sheer speculation that the challenged portions of the final rule will lead

arbitrators not to select their offer. Plaintiffs’ claims also fail on the merits. The final rule was well



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within the Departments’ statutory authority—indeed, statutory mandate—to establish a uniform IDR

process to guide arbitrators’ decision-making. And the challenged provisions of the final rule represent

the kind of reasonable procedural and evidentiary guidance that agencies are allowed to promulgate

to ensure consistency and reliability in the adjudication process.

        Plaintiffs decry any rule that imposes a presumption or preference in favor of the QPA, but

the final rule includes no such presumption. Contrary to Plaintiffs’ strained reading, the final rule: (i)

requires arbitrators to consider all of the permissible information before them; (ii) does not elevate

the QPA above other information or instruct arbitrators to give it any preferential weight; and (iii)

leaves entirely up to the discretion of the arbitrators how to weigh credible, relevant, nonduplicative

information when selecting an offer. And far from being arbitrary and capricious, and the final rule

does not overlook any of Plaintiffs’ claimed “problems” with the QPA and is plainly workable.

Plaintiffs’ arguments boil down to the fact that they dislike that the arbitrators must consider the QPA

at all, but Plaintiffs cannot escape the fact that it was Congress—not the Departments—that required

arbitrators to consider the QPA when making payment determinations in the IDR process.

        This Court should grant Defendants’ cross-motion for summary judgment.

                                              ARGUMENT

I.      Plaintiffs Have Not Shown That They Have Standing To Challenge The Final Rule’s
        Arbitration Procedures.

A.      None Of The Plaintiffs Have Demonstrated Cognizable, Redressable Injury.
        To establish Article III standing, Plaintiffs must show they have suffered “an invasion of a

legally protected interest [that] is (a) concrete and particularized and (b) actual or imminent, not

conjectural or hypothetical.” Kitty Hawk Aircargo, Inc. v. Chao, 418 F.3d 453, 459 (5th Cir. 2005) (quoting

Lujan v. Defs. Of Wildlife, 504 U.S. 555, 560 (1991)). Plaintiffs argue they will be harmed because the

final rule will cause arbitrators to select payers’ offers instead of their offers, but they do not challenge

provisions of the final rule that instruct, or even determine, which offer the arbitrator should select.

Thus, Defendants’ argument is not that Plaintiffs lack standing because their claims fail on the

merits—they lack standing because they challenge provisions of the final rule that could not actually




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injure them.

        In the lawsuit over the interim final rule, Texas Medical Association v. United States Department of

Health & Human Services (“TMA I”), 587 F. Supp. 3d 528, 540 (E.D. Tex. 2022), the plaintiffs

challenged the provisions of the interim final rule that instructed the arbitrator which offer to select.

This Court found standing based on the plaintiffs’ affidavits suggesting that the interim final rule’s

instruction for arbitrators to select the offer closest to the QPA, unless certain other conditions were

met, would necessarily lead the arbitrators to not select the plaintiffs’ offers, because those offers

would almost always be further from the QPA. Id. at 537-38. The final rule, however, instructs

arbitrators to select the offer that “best represents the value of the qualified IDR item or service” and

Plaintiffs do not challenge that portion of the final rule. 45 C.F.R. § 149.510(c)(4)(ii)(A).

        Instead, here, Plaintiffs’ affidavits speculate about what offers payers are likely to submit but

that speculation has no bearing on whether arbitrators will determine that the payers’ offers will be the

ones that best represent the value of the item or service. Thus, Plaintiffs cannot simply claim standing

on the same basis as in TMA I. The challenged provisions here, unlike the in TMA I, do not instruct

the arbitrator which offer it should select, and thus cannot cause any injury to Plaintiffs. Plaintiffs

instead challenge portions of the final rule that instruct the arbitrator to consider the QPA and “then”

“evaluate whether the information is credible and relates to the offer submitted by either party” and

to “not give weight to information to the extent it is not credible, it does not related to either party’s

offer . . . or is already accounted for by the [QPA] . . . or other credible information.” 45 C.F.R. §

149.510(c)(4)(iii)(B), (E). Additionally, Plaintiffs do not assert that they intend to submit noncredible

or irrelevant information to the arbitrators. TMA Pls.’ Opp’n to Defs.’ Mot. For Summ. J. and Reply

in Supp. of Summ. J. at 5, ECF No. 82 (“TMA Reply”). Plaintiffs cannot claim a financial injury based

on their speculative and unsupported theory that the final rule will somehow lead arbitrators not to

select their offers. See California v. Texas, 141 S. Ct. 2104, 2117 (2021) (“‘[A]t the summary judgment

stage, such a party can no longer rest on mere . . . allegations, but must set forth . . . specific facts’ that

adequately support their contention.”).

        For these same reasons, Plaintiffs have also failed to establish that any claimed injury is



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redressable by the relief requested here. Plaintiffs have not shown that a court order vacating the

procedural and evidentiary portions of the final rule they challenge will make their offers more likely

to “best represent the value of the qualified IDR item or service.” 45 C.F.R. § 149.510(c)(4)(ii)(A).

And a victory in this lawsuit would not cure any of Plaintiffs’ claimed problems with the calculation

of the QPA (as Plaintiffs admit in their separate lawsuits challenging those regulations, Texas Medical

Association v. United States Department of Health & Human Services, No. 6:22-cv-450-JDK, ECF No. 1 at

4 (E.D. Tex. Nov. 30. 2022) (“Even if plaintiffs in TMA II successfully challenge the Departments’

renewed efforts to anchor arbitration outcomes to the QPA, however, the Departments’ flawed

methodology that deflates QPAs will continue to harm physicians.”); see also LifeNet, Inc. v. United States

Department of Health & Human Services, No. 6:22-cv-00453-JDK (E.D. Tex. Dec. 1, 2022)). Plaintiffs’

argument that they will be injured because the final rule reimposes a presumption in favor of the QPA

requires arbitrators to adopt a convoluted reading of the final rule that the Departments themselves,

in the rule, have expressly disclaimed. Such speculation does not establish standing. See Missouri v.

Yellen, 39 F. 4th 1063, 1069 (8th Cir, 2022), petition for cert. filed, No. 22-352 (Oct. 14, 2022).

        Finally, Plaintiffs cannot claim standing based on the sort of procedural injury the Court found

in TMA I. 587 F. Supp. 3d at 537. The final rule was promulgated after a period of notice-and-

comment rulemaking. And while Plaintiffs gesture at an indeterminate procedural injury based on an

alleged “depriv[ation] of the arbitration process established by the Act” TMA Reply at 3, it is settled

that a “deprivation of a procedural right without some concrete interest that is affected by the

deprivation—a procedural right in vacuo—is insufficient to create Article III standing.” Summers v. Earth

Island Inst., 555, U.S. 488, 496 (2009). There is no concrete interest—financial or otherwise—impacted

by the challenged portions of the final rule. The final rule leaves to the discretion of the arbitrator how

to weigh the credible, relevant, nonduplicative information and the ultimate selection of which offer

best represents the value of the item or service at issue. Plaintiffs have failed to establish a procedural

violation sufficient to confer standing here.




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B.      LifeNet Has Still Failed To Demonstrate That It Has Standing.
        LifeNet does not have standing to challenge the final rule because it does not participate in

arbitrations conducted under the Act, and its compensation is unaffected by the outcome of such

arbitrations. As explained in Defendants’ opening brief, because Air Methods Corporation participates

in arbitrations involving services provided by LifeNet, only Air Methods has a financial interest in the

outcome of those arbitrations; Plaintiff is paid a fixed amount whether or not Air Methods obtains

reimbursement from other payers. Defs.’ Cross-Mot. For Summ. J. and Mem. in Opp. to Pls.’ Summ.

J. Mots. at 20-22, ECF No. 63 (Defs.’ Mot.). None of LifeNet’s arguments are sufficient to show that

it has a stake in the outcome of the Act’s arbitrations, or that it will suffer any injury as a result of the
challenged provisions. LifeNet has entirely failed to show that even if Air Methods stands to do better

under revised IDR regulations, it will pass that financial benefit on to LifeNet in any way. See Summers,

555 U.S. at 496 (rejecting a standing theory premised on a speculative chain of possibilities). In sum,

LifeNet has not demonstrated that it will suffer any injury traceable to the final rule. While Defendants

acknowledge that this Court has previously rejected a similar challenge to LifeNet’s standing,

Defendants respectfully preserve them here to explain why LifeNet remains an improper plaintiff to

challenge the final rule.

        LifeNet argues that it has standing because it is an “object” of the challenged regulation and

has suffered a procedural harm. LifeNet insists that it is “directly regulated” by the rule, as a provider

of out-of-network air ambulance services. LifeNet’s Opp’n to Defs.’ Mot. for Summ. J. and Reply in

Supp. of Summ. J. (“LifeNet Reply”) at 11, ECF No. 83. Not so. The “provider” that is regulated by

the Act’s arbitration provisions, or whose interests these provisions (arguably) protect, is the entity

that submits the reimbursement claim and that will receive payment in the amount determined by the

arbitrator. See 42 U.S.C. § 300gg-111(c)(1). That entity is Air Methods. LifeNet itself is not “directly

regulated” by these provisions at all. Nor does LifeNet advance its claim to standing by asserting that

it suffers a “procedural injury.” LifeNet Reply at 13. As noted above, none of the Plaintiffs in this case

have shown that they suffer any concrete injury from the regulation. LifeNet therefore cannot claim

standing based on a procedural injury or as an “object” of the final rule since it does not participate




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in any of the procedures at issue.

        LifeNet’s contention that it has standing because Air Methods could decide not to renew its

contract, LifeNet Reply at 12, is similarly unavailing. See Kitty Hawk, 418 F.3d at 459 (rejecting “Kitty

Hawk’s claims of injury resulting from future contracts” because they rely “on a string of hypotheticals

and conjectures”). As a matter of law, LifeNet cannot meet its burden of proof by relying on

speculation as to the likelihood that a third party might act in a given way in response to the rule. See

Inclusive Cmtys. Project, Inc. v. Dep’t of Treasury, 946 F.3d 649, 655-56 (5th Cir. 2019). Even if Air Methods

were to someday negotiate less favorable contract terms, LifeNet would have to establish that it is

“‘substantially probable that the challenged acts of the defendant, not of some . . . third party[,]’ . . .

caused the injury.” Ortiz v. Am. Airlines, Inc., 5 F.4th 622, 629 (5th Cir. 2021) (quoting Fla. Audubon

Soc. v. Bentsen, 94 F.3d 658, 663 (D.C. Cir. 1996)).

        Finally, LifeNet cannot establish that the final rule has caused it a reputational injury sufficient

to confer standing. LifeNet may not assert standing on the possibility that it might be disparaged if an

arbitrator makes statements about the value of air ambulance services. LifeNet Reply at 13-14. The

kind of reputational harm that rises to the level of an injury in fact to support standing are far graver

than what LifeNet alleges here—more akin to a libel that is the core of a plaintiff’s claimed injury than

a collateral reputational consequence from slightly lower compensation for a given item or service.

See, e.g., McBryde v. Comm. to Rev. Cir. Council Conduct & Disability Ords. of Jud. Conf. of U.S., 264 F.3d 52,

56-57 (D.C. Cir. 2001) (holding that a statement of public reprimand issued on the Fifth Circuit’s

website against a district judge was enough of a reputational injury for standing, and noting that “the

Supreme Court has strongly suggested, without deciding, that where an effect on reputation is a

collateral consequence of a challenged sanction, it is insufficient to support standing”). At any rate, a

claim of standing based on a reputational injury must be more than speculative. See Advanced Mgmt.

Tech., Inc. v. F.A.A., 211 F.3d 633, 637 (D.C. Cir. 2000). For this same reason, LifeNet’s argument that

it may someday want to borrow money and might attribute a possible future lower valuation or credit

score to the final rule fails to pass muster at summary judgment. On summary judgment, LifeNet

“must have adduced evidence to support controverted factual allegations” in support of its standing.



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El Paso Cnty. v. Trump, 982 F.3d 332, 338 (5th Cir. 2020), cert. denied, 141 S. Ct. 2885 (2021). It has failed

to do so.

C.      East Texas Air One Is Not A Proper Party, And This Court Should Not Consider
        Whether It Has Standing.
        This Court should not consider whether East Texas Air One has standing to challenge the

final rule here. LifeNet filed an Amended Complaint purporting to add East Texas Air One as a

plaintiff only after (indeed, mere hours after) Defendants filed their response to Plaintiffs’ motion for

summary judgment and cross-motion in support of summary judgment. Am. Compl., ECF No. 64.

Defendants therefore had no opportunity to develop or make any arguments as to whether East Texas

Air One has standing, or indeed, to develop or make any arguments at all specific to East Texas Air

One, including any other potential defenses Defendants might raise. As explained in Defendants’

motion to strike, the Amended Complaint was procedurally improper and should be given no legal

effect. ECF No. 81 (citing United States ex rel. Mathews v. HealthSouth Corp., 332 F.3d 293, 296 (5th Cir.

2003)). LifeNet cannot rely on its improper attempt to add East Texas Air One to cure the deficiencies

in its own standing. If Defendants’ motion to strike is denied, Defendants should be afforded an

opportunity to brief arguments specific to East Texas Air One.

II.     The Departments Had Statutory Authority—Indeed, A Statutory Obligation— To
        Promulgate Reasonable Procedural And Evidentiary Rules To Establish The IDR
        Process.
        The Departments exercised their statutory authority to promulgate regulations governing the

IDR process, and the regulations issued under that authority are entitled to deference. Contrary to

Plaintiffs’ intimation, the Departments did not make up a duty to establish rules governing the IDR

process out of whole cloth, but issued the final rule in response to Congress’s express instruction to

establish, by regulation, a process under which arbitrators make their payment determinations. 42

U.S.C. § 300gg-111(c)(2)(A).1 Plaintiffs’ invocation of cases where agencies tried to find rulemaking

authority where none existed are therefore inapposite. See Gulf Fishermens Ass’n v. Nat’l Marine Fisheries
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        A parallel provision requiring the Departments to establish an arbitration process for air
ambulance payments is codified at 42 U.S.C. § 300gg-112(b)(2)(A).




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Serv., 968 F.3d 454, 461 (5th Cir. 2020), as revised (Aug. 4, 2020); Nat’l Pork Producers Council v. EPA,

635 F.3d 738, 753 (5th Cir. 2011). The Departments do not, as Plaintiffs claim, as the Court to

“presume a delegation of power absent an express withholding of such power.” Gulf Fishermens Ass’n,

968 F.3d at 461. Quite the opposite: the statute requires the Departments to establish by regulation

an IDR process for making payment determinations, and that is exactly what they did.

        The statute states that the Departments “shall establish by regulation one independent dispute

resolution process . . . under which . . . a certified IDR entity . . . determines, subject to subparagraph

(B) and in accordance with the succeeding provisions of this subsection, the amount of payment under

the plan or coverage for such item or service furnished by such provider or facility.” 42 U.S.C. § 300gg-

111(c)(2)(A). The statute thus requires the Departments to “establish one independent resolution

process” “under which” the IDR entity “determines” the amount of payment in accordance with the

statute. Id. Although Congress required the Departments to establish regulations for a decision-making

process, it did not spell out what procedural rules they must establish or what those rules should look

like, other than that the rules should lead the arbitrators to make decisions in accordance with the

statute. Congress’s use of the phrase “one . . . process” further suggests that it intended the

Departments to establish a process that would be standardized, uniform, or otherwise predictable

across all of the IDR entities.

        A directive to “establish by regulation” is, of course, a delegation of substantive rulemaking

authority. See In re Avandia Mktg., Sales Pracs. & Prod. Liab. Litig., 685 F.3d 353, 366 (3d Cir. 2012).

Given the sheer volume of payment disputes to be adjudicated under the Act, with over 90,000

arbitrations being initiated in the first few months, the need for procedural regularity is even more

pronounced. See Barnhart v. Walton, 535 U.S. 212, 225 (2002) (holding that “the vast number of claims

that [the statute] engenders, and the consequent need for agency expertise and administrative

experience lead us to read the statute as delegating to the Agency considerable authority to fill in,

through interpretation, matters of detail related to its administration.”); Ctrs. for Medicare & Medicaid

Servs., Calendar Year 2023 Fee Guidance for the Federal [IDR] Process under the No Surprises Act, at 5 (Oct.

31, 2022) (over 90,000 arbitrations initiated between April 2022 and September 2022) available at



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https://www.cms.gov/cciio/resources/regulations-and-guidance/downloads/cy2023-fee-guidance-

federal-independent-dispute-resolution-process-nsa.pdf.

        Plaintiffs’ focus on statutory provisions that they claim are “unambiguous” does not prove as

much as they claim. TMA Reply at 7-8. Although the Act may be unambiguous in some respects (for

example, it unambiguously requires the arbitrator to select between the two offers before her), the Act

does not specifically describe every detail of the procedures and methodologies the Departments

should establish to guide arbitrators in the decisionmaking process. Nat’l Cable & Telecomm. Ass’n v.

Brand X Internet Servs., 545 U.S. 967, 986 (2005) (under Chevron a court first asks “whether the statute’s

plain terms ‘directly addres[s] the precise question at issue.’”) (quoting Chevron U.S.A., Inc. v. Nat. Res.

Def. Council, Inc., 467 U.S. 837, 843 (1984)). A statute can be unambiguous in some respects and

ambiguous or silent in others—it is the precise question at issue that determines whether there is a

statutory gap or ambiguity. Nat’l Cable & Telecomm. Ass’n, 545 U.S. at 986. Thus, while as Plaintiffs

recognize the Act unambiguously requires an arbitrator to not to consider impermissible information,

the statute is not similarly unambiguous on each minute detail of the “one independent resolution

process” “under which” the arbitrator reaches her decision. 42 U.S.C. § 300gg-111(c)(2)(A). That the

statute may speak unambiguously to other issues not implicated in this litigation is irrelevant to

whether the specific portions of the final rule that Plaintiffs have challenged reflect permissible

exercises of statutory authority, including to the extent the final rule fills statutory gaps.

        The statute therefore leaves a gap, directing the Departments to establish “one . . . process . . .

under which . . . an IDR entity determines” payment amounts without spelling out what that

deliberative process under which decisions are made should look like. Id. In other words, Congress

delegated a “specific task” to the Departments “without giving detailed instructions” and therefore

“the agency gets to fill the silence.” TMA Reply at 9 (quoting Marlow v. New Food Guy, Inc., 861 F.3d

1157, 1163 (10th Cir. 2017)). The statutory scheme here thus bears no resemblance to cases where

agencies claim that Congressional silence on an entire topic confers rulemaking authority, cf. Coffelt v.

Fawkes, 765 F.3d 197, 202 (3rd Cir. 2014) (finding statute that failed to address topic entirely did not

create statutory ambiguity), or to a “comprehensive” statutory scheme that is entirely silent on the



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regulatory authority claimed by the agency. See, e.g., Nat’l Pork Producers, 635 F.3d at 753. For example,

in Gulf Fishermans Association, where the statute was silent on the entire industry that the agency sought

to regulate, the court declined to infer expansive rulemaking authority based on silence alone. 968

F.3d at 465. Here, in contrast, there is an express grant of rulemaking authority (“shall establish”) that

leaves gaps for the Departments to fill (“one . . . process” “under which” payment determinations

should be made). The Departments were therefore not only authorized, but required, to establish rules

setting forth the process for arbitrators to follow in their decision-making, although Congress was

silent on what those rules and procedures should look like, other than that they should be in

accordance with the statute. See, e.g., Sweeney v. Westvaco Co., 926 F.2d 29, 35 (1st Cir. 1991) (Breyer, J.)

(explaining that “in accordance with” is ambiguous and could mean “mandated” by or “not

forbid[den]” by); see also United States v. Curb, No. 06 CR 324-31, 2019 WL 2017184, at *4 (N.D. Ill.

May 7, 2019) (“To be ‘in accordance’ does not require precise equivalency, but only agreement,

conformity, or consistency.”).

        This gap, therefore, was left for the Departments to fill. City of Arlington v. FCC, 569 U.S. 290,

296 (2013) (“[s]tatutory ambiguities will be resolved, within the bounds of reasonable interpretation,

not by the courts but by the administering agency”). And the Departments did just that, creating

reasonable procedural rules to help ensure regularity and predictability in the IDR process.

        Plaintiffs also seem to argue that, to the extent there is any gap or ambiguity in the decision-

making process, it should have been for the certified IDR entities, not the Departments, to fill. 2 TMA

Reply at 8-9. But the Departments’ extensive regulation of the IDR entities overall does not logically

limit the Departments’ ability to set reasonable procedures for establishing a standardized IDR process
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          TMA argues that, because its comment letter urged the Departments to promulgate rules
governing how arbitrators would consider the Act’s statutory factors and the QPA in a way that would
not prioritize the QPA, the letter is not inconsistent with its position in this litigation. But if the
Departments had the authority, as TMA seemed to assume they did, to promulgate rules governing
the arbitrators’ consideration of the statutory factors in a way that it likes, TMA’s position necessarily
encompassed the view that the Departments have the authority to promulgate rules governing how
the arbitrators consider the Act’s statutory factors. See Letter from E. Linda Villarreal, President, Tex.
Med. Ass’n, et al., to Xavier Becerra, Secretary, U.S. Dep’t of Health & Human Servs., et al., at 16
(Sept. 7, 2021) (AR 7832) (asking Departments to “[r]equire the IDR entity . . . to be provided with
direction”).



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under the statute. Id. at 11. In fact, the “detailed rules” that Congress required the Departments to

establish governing IDR entities in other respects strengthens the idea that Congress intended the

Departments to closely supervise and regulate the IDR entities to ensure that they follow a

standardized process for approaching decision-making in payment disputes. Id. Even if Congress

could have directed the certified IDR entities to establish their own procedural rules governing

arbitrations under the Act, it did not do so. Instead, Congress chose to vest the power to establish a

decision-making process with the Departments. See 42 U.S.C. § 300gg-111(c)(2)(a) (“the Secretary,

jointly with the Secretary of Labor and the Secretary of the Treasury, shall establish by regulation one

independent dispute resolution process. . .”). This shows Congress’s recognition that there should be

across-the-board standards, rules, procedures, and methodologies to help ensure that procedures

followed in each individual arbitration should not depend on the whims of the particular IDR entity

deciding it.

        Nevertheless, Plaintiffs ignore that the final rule does not actually prevent arbitrators from

considering any permissible information in the first place, nor does it instruct them on how to weigh

all of the relevant, nonduplicative, and credible information, consistent with this Court’s prior

opinions. The final rule leaves a great deal to the discretion of the arbitrators and imposes no

procedures or requirements on how an arbitrator should weigh the relevant, credible, nonduplicative

information when deciding which offer best represents the value of the qualified IDR item or service.

On this, the key question before the arbitrator, the Departments left the arbitrator to her own

discretion.

III.    The Challenged Portions Of The Final Rule Are Reasonable Evidentiary And
        Procedural Regulations Establishing A Predictable And Consistent IDR Process And
        Are Not Arbitrary Or Capricious.
        As noted above, Plaintiffs do not challenge the portion of the final rule that instructs the

arbitrator which offer to select, see 45 C.F.R. § 149.510(c)(iv)(2)(A) (directing the arbitrator to select

the offer that “best represents the value of the qualified IDR item or service”), but instead challenge

ancillary provisions that are intended to “ensure that certified IDR entities have clear guidance on how




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to evaluate potentially voluminous and complex information in a methodological and consistent

manner.” Requirements Related to Surprise Billing, 87 Fed. Reg. 52,618, 52,627 (Aug. 26, 2022). These

portions of the final rule reflect a reasonable interpretation of the statute and is thus entitled to Chevron

deference.3

        Although the arbitrators are required by statute to consider the QPA, see 42 U.S.C. § 300gg-

111(c)(5)(C)(i), the final rule does not prescribe any particular weight that should be given to that

amount, consistent with this Court’s prior opinions. See 87 Fed. Reg. at 52,627 (“The Departments

note that these final rules are not intended to impose a rebuttable presumption for payment

determinations in the Federal IDR process.”); see also id. (“The regulatory text in these final rules does

not include the provisions that the District Court reasoned would have the effect of imposing such a

presumption.”). The final rule does not place any greater weight on the QPA than on any other factor

(indeed, it repeatedly and expressly disclaims doing so), and it instructs the arbitrator to consider all

the permissible information submitted by the parties. The final rule leaves entirely to the discretion of

the arbitrator how to weigh credible, relevant, and nonduplicative information. But, the rule explains,

arbitrators should not give weight to information that is noncredible, irrelevant to the task at hand, or

duplicative. 45 C.F.R. § 149.150(c)(4)(iii)(E).

        These basic methodological and procedural rules serve as guardrails to ensure that all IDR

entities are following “one independent dispute resolution process,” 42 U.S.C. § 300gg-111(c)(2)(A),

and are intended to “promote consistency and predictability in the process[.]” 87 Fed. Reg. at 52,627.

Although Plaintiffs argue that the challenged provisions of the final rule are not evidentiary,

methodological, or procedural rules, but are in fact more substantive, TMA Reply at 10, the challenged

provisions guide the arbitrators in how to evaluate the evidence before them and bear a close

resemblance to other evidentiary rules, such as the Federal Rules of Evidence. Compare 87 Fed. Reg.

at 52,628 (information relates to a party’s offer “if it tends to show that the offer best represents the
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           The Plaintiffs hint in a footnote at a potential future challenge to the viability of the Chevron
doctrine. TMA Reply at 22 n.4. This argument, raised only in a footnote in a reply brief, is waived. See,
e.g., Arbuckle Mountain Ranch of Tex., Inc. v. Chesapeake Energy Corp., 810 F.3d 335, 339 n.4 (5th Cir. 2016).
Chevron, of course, remains precedent that is binding on this Court.




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value of the item or service under dispute”) with Fed. R. Evid. 401 (“Evidence is relevant if it has a

tendency to make a fact more or less probable . . . and the fact is of consequence in determining the

action).

           An agency may establish procedural, methodological, and evidentiary rules to govern

individual adjudications. See, e.g., Chem. Mfrs. Ass’n v. Dep’t of Transp., 105 F.3d 702, 705 (D.C. Cir.

1997); Am. Hosp. Ass’n v. NLRB, 499 U.S. 606, 612 (1991) (recognizing agency authority to use

rulemaking to establish “general principles to guide the required case-by-case . . . determinations”);

Martin v. Occupational Safety and Health Review Comm’n, 499 U.S. 144, 152 (1991) (according deference to

the agency with rulemaking authority, rather than a separate adjudicative body). Those rules are

entitled to deference. See Martin, 499 U.S. at 152 ; Nat’l Min. Ass’n v. Dep’t of Lbaor, 292 F.3d 849, 868

(D.C. Cir. 2002). Plaintiffs complain (TMA Reply at 9) that the cases cited by Defendants deal with

adjudications that are not only overseen by agencies, but also conducted by agency staff. See Martin,

499 U.S. at 152; see also New York v. Reilly, 969 F.2d 1147, 1150 (D.C. Cir. 1992); Cent. Vt. Ry., Inc. v.

Interstate Commerce Comm’n, 711 F.2d 331, 336 (D.C. Cir. 1983); Ramirez v. ICE, 471 F. Supp. 3d 88, 175

(D.D.C. 2020). That is true. But it does not logically follow that agencies that oversee adjudications

may promulgate reasonable procedural and evidentiary rules only when their own employees conduct

those adjudications, and Plaintiffs cite no caselaw to suggest that the same rule would not govern here.

The Act provides for the Departments to supervise the IDR entities through certification,

decertification, and audits of the IDR entities’ decisions—a degree of control comparable to that

exercised by many agencies over their own adjudicators. See 42 U.S.C. § 300gg-111(a)(2)(A), (c)(4),

(c)(7)(C). As the Supreme Court has explained, this authority to promulgate reasonable procedural

rules is to stem the “discretionary chaos” that would result if each individual adjudicator made up their

own rules. Am. Hosp. Ass’n, 499 U.S. at 612 (quoting K. Davis, Administrative Law Text § 6.04, p. 145

(3d ed. 1972)). And the need to stem that chaos is no less great when the adjudicators are independent

arbitrators rather than agency employees. Each participant in the IDR process should have an

expectation that their dispute will be decided under similar procedures no matter which individual

IDR entity happens to be conducting the adjudications. Therefore, the caselaw that Defendants rely



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on applies with equal force to the circumstances here. And Plaintiffs have no other rebuttal to the

well-established proposition that agencies can establish reasonable procedural, methodological, and

evidentiary rules to ensure consistency and predictability among individual adjudications. See Chem.

Mfrs. Ass’n, 105 F.3d at 705; Nat’l Min. Ass’n, 292 F.3d at 868; Am. Hosp. Ass’n, 499 U.S. at 612.

        All of the reasonable procedural and methodological provisions that Plaintiffs challenge here

are consistent with the Act. The final rule requires the arbitrator to consider all the permissible

information before her. 45 C.F.R. § 149.510(c)(4)(iii)(B)-(D). After considering all that information,

however, the final rule explains that the arbitrator, in reaching her decision, should not give weight to

information that is noncredible, irrelevant to the task at hand, or duplicative. Id. § 149.510(c)(4)(iii)(E).

Although Plaintiffs fault the rules for establishing a decision-making process, see TMA Reply at 23

(describing Plaintiffs’ characterization of a three-step process), it is just that—a process under which

arbitrators make their determinations—that Congress directed the Departments to establish by

regulation. These rules are important to ensure that arbitrators approach payment disputes with a

similar methodology and procedure. See 87 Fed. Reg. at 52,627. By promoting consistency and

predictability in the IDR process, the final rule also furthers the Act’s goal of lowering administrative

costs and encouraging the parties to resolve disputes through negotiation. See H.R. Rep. No. 116-615,

at 58 (AR 335); 42 U.S.C. § 300gg-111(c)(5)(E)(ii). As explained below, each challenged provision

reflects a reasonable interpretation of the Act and is therefore entitled to deference. 4 Likewise, none

of the challenged provisions are arbitrary or capricious, and those provisions do not meet the high bar

that courts set for setting aside agency action under that “highly deferential” standard. Knapp v. Dep’t
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           Plaintiff LifeNet attempted to submit with its reply brief what appears to be a letter from
two members of Congress claiming that some portions of the final rule do not reflect legislative intent.
But post-enactment views of a couple of members of Congress cannot be presumed to reflect the
intent of Congress as a whole and are of little value in determining legislative intent. See SE Cmty. Coll.
v. Davis, 442 U.S. 397, 411 n.11 (1979) (“isolated statements made by individual Members of Congress
or its committees, all made after the enactment of the statute under consideration, cannot substitute
for a clear expression of legislative intent at the time of enactment”). Additionally, the exhibit was
untimely evidence and should not be considered. See Local Rule CV-56(a) (all evidence for a summary
judgment motion should be provided with the motion). Even if this Court were to review the letter,
the members of Congress only appear to take issue with the double-counting rule and accompanying
written decision requirements and are not critical of the credibility or relevancy provisions in the final
rule. See LifeNet Reply Ex. 1, ECF No. 83-3.




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of Agric., 796 F.3d 445, 453 (5th Cir. 2015).

A.      The Credibility Provision Is A Reasonable Procedural Rule Entitled To Deference And
        Is Not Arbitrary Or Capricious.
        The final rule carries over a provision from the interim final rule that instructs arbitrators to

give weight only to information that is credible—that is, “worthy of belief” and “trustworthy.” 45

C.F.R. § 149.510(a)(2)(v).5 The arbitrator should determine whether information submitted by the

parties—either because the information relates to the statutory factors, was requested by the arbitrator,

or was submitted by the parties because it relates to the offer of payment—is credible before the

arbitrator gives that information weight in making her final determination. The rules promulgated

under the Act, including the July 2021 interim final rules relating to the QPA and the August 2022

final rule, provides that the arbitrator should give weight only to information that bears some indicia

of credibility. For the QPA, that credibility is ensured through detailed regulations governing how that

amount is calculated, see 45 C.F.R. § 149.140, and through an auditing and reporting system that

imposes penalties for violations of those regulations, 42 U.S.C. § 300gg-111(a)(2)(A) (establishing an

audit process), (a)(2)(B)(iv) (establishing a process for receiving complaints of violations); id.§ 300gg-

22; 45 C.F.R. § 150.301 (authorizing civil money penalties). For all other information before the

arbitrator, which may often be subjective and qualitative in nature, the arbitrator should evaluate the

credibility of the information before her. And the final rule does not circumscribe in any way the

arbitrator’s discretion to weigh all of the pieces of credible information in reaching her final decision.

The final rule thus promotes Congress’s goals of a uniform IDR process that will provide an efficient

and consistent decision-making process for all the parties involved and helps ensure that arbitrators

will not base their decisions on untrustworthy or noncredible information, while leaving the ultimate
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           Plaintiffs have waived any challenge to the credibility requirement, which was carried over
from the interim final rule, and which Plaintiffs did not challenge in their prior litigation. Although
Plaintiffs point to comments that raised complaints with how the QPA is calculated, Plaintiffs have
no explanation for why they decided not to comment on or challenge the requirement that arbitrators
consider only credible information, that is, information that is “worthy of belief and is trustworthy,”
45 C.F.R. § 149.510(a)(2)(v), and they point to no other commenters who took issue with the
credibility requirement in the interim final rule either. It is “well established that issues not raised in
comments before the agency are waived.” Nat’l Wildlife Fed’n v. EPA, 286 F.3d 554, 562 (D.C. Cir.
2002).




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weighing of credible information to the discretion of the arbitrator.

        Even though the final rule instructs arbitrators not to give weight to noncredible information

in making their ultimate determination, the arbitrators are still required to consider all the permissible

information before them. See 45 C.F.R. § 149.510(c)(4)(iii)(B)-(D). This is not a distinction without a

difference, as Plaintiffs argue, TMA Reply at 10, but a procedural rule to aid arbitrators in wading

through potentially voluminous and complex information. See 87 Fed. Reg. at 52,627. The arbitrator,

faced with two offers, must select between them. The arbitrator will also be given a potentially vast

amount of information pertaining to many aspects of the item or service at issue—the provider’s

training and experience, the acuity of the patient, the case mix of the facility, to name just a few. After

considering all this information, the arbitrator must decide which pieces of information tip the

selection in favor of one offer over the other. The final rule thus instructs arbitrators not to rely on—

or give weight to—noncredible information in making their ultimate selection of an offer.

        Plaintiffs say that they take no issue with a general, across-the-board credibility requirement,

TMA Reply at 13, but object that it is the Departments, not the arbitrators, who are tasked with

policing the accuracy of the QPA. But it was Congress, not the Departments, who chose to place the

obligation on monitoring and policing the accuracy of the QPA with the Departments, rather than the

arbitrators. See 42 U.S.C. § 300gg-111(a)(2)(A) (tasking the Departments with establishing an audit

process), (a)(2)(B)(iv) (tasking the Departments with establishing a process for receiving complaints

of violations); 87 Fed. Reg. at 52,626 (noting “that the statute places the responsibility for monitoring

the accuracy of plans’ and issuers’ QPA calculation methodologies with the Departments”). The final

rule is consistent with this statutory delegation of responsibility.

        Plaintiffs hypothesize about a situation where an insurer, contrary to the Departments’

guidance, uses $0 “ghost rates” to calculate the QPA, and the provider believes that this renders the

QPA noncredible. TMA Reply at 19. But the proper course of action in that scenario would not be to

ask the arbitrator to re-examine or re-calculate the QPA—to the contrary, the provider in that scenario

should follow the procedures created by Congress and implemented by the Departments for just such

a situation. See 42 U.S.C.A. § 300gg-111(a)(2)(B)(iv) (requiring Departments to establish “a process to



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receive complaints of violations of the requirements described in subclauses (I) and (II) of

subparagraph (A)(i) [calculating the QPA] by group health plans and health insurance issuers offering

group or individual health insurance coverage.”). Drafted against the background of the

comprehensive regulatory framework for calculating, auditing, and reporting violations of the QPA,

the final rule recognizes that, so long as the QPA is calculated in compliance with these regulatory

requirements, it will have some indicia of credibility. And payers are deterred by the threat of monetary

penalties if they do not calculate the QPA in accordance with the regulations. 45 C.F.R. § 150.301

(authorizing civil money penalties). It is not unreasonable, or arbitrary and capricious, to rely on the

threat of civil money penalties to deter payers from violating the law in calculating the QPA. Dep’t of

Revenue of Mont. v. Kurth Ranch, 511 U.S. 767, 778 (1994) (“civil penalties . . . deter certain behavior”).

        Plaintiffs at times seem to conflate questioning the “credibility” of the QPA with questioning

whether the QPA is representative of the value of the qualified IDR item or service. While arbitrators

are not the ones that Congress tasked with evaluating whether the QPA was calculated correctly and

accurately, and thus not the ones tasked with determining whether the QPA is “credible,” arbitrators

can always evaluate whether the QPA represents the value of the qualified IDR item or service. Parties

are free to argue that the QPA does not reflect the value of an item or service because, for example,

the medical procedure at issue was particularly complex or required special skills that only providers

with a particular level of training and experience can provide; because the payer has such a high market

share in the region that it has monopolized compensation below fair value; or because the cost of

providing the item or service exceeds the QPA, and they may make any other arguments not based

on impermissible information. See 87 Fed. Reg. at 52,627. All these arguments go towards convincing

the arbitrator that the QPA does not reflect the value of the item or service, but do not require the

arbitrator to investigate the credibility or accuracy of the QPA.6
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          Plaintiffs, particularly LifeNet, fault the Departments for stating that their goal is to reduce
health care costs overall, but this was Congress’s own goal. See LifeNet Reply at 6-9. The IDR process
would not help lower health care costs if it served as a one-way ratchet, driving prices higher and
higher. And, as Congress was well aware, prices for certain health care providers and services have
skyrocketed in recent years, reflecting a market failure and calling out for a course correction to protect
consumers from rising costs. See H.R. Rep. No. 116-615 at 53 (AR 330) (noting that “surprise billing




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        The Departments reasonably determined, consistent with the obligations imposed by

Congress, that it was the duty of the Departments to monitor the accuracy of the QPA, and, because

the Departments also wanted to ensure that arbitrations under the Act do not become long, drawn-

out affairs, the arbitrators are not tasked with examining or re-calculating the accuracy of the QPA.

As the Departments explained in the final rule, the regulations aimed to strike a balance between

promoting an efficient arbitration process and providing some transparency into how the QPA was

calculated. 87 Fed. Reg. at 52,625. “The Departments sought to balance those competing interests by,

on the one hand, requiring plans and issuers to make certain disclosures with each initial payment or

notice of denial of payment and to provide certain additional information upon request . . . and, on

the other hand, avoiding more wide-reaching disclosure requirements that could add to the costs and

burdens of adjudicating claims.” Id. And this is consistent with the statutory language evincing

Congress’s intent for the IDR process to be low-cost and efficient. See 42 U.S.C. § 300gg-111(c)(3)(A)

(Congress sought to “encourag[e] the efficiency” and “minimiz[e the] costs” of the arbitration

process).

        Congress, and the Departments, chose not to burden arbitrators with policing the accuracy of

the QPA in order to ensure that the arbitration process is an efficient and cost-effective dispute

resolution process. And because a single QPA may be used in multiple arbitrations at once (in multiple

disputes before multiple IDR entities involving a single payer and the same kind of item or service),

allowing one arbitrator to re-calculate or re-examine the QPA could have a ripple effect, disrupting

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represents a market failure” that has “enable[d] some providers to charge amounts for their services
that exceed the marginal cost of producing those services and resulting in compensation far above
what is needed to sustain their practice.”). Congress understood that “[t]he presence of this market
failure in certain provider specialties is strongly supported by evidence reflecting the highly inflated
payment rates for these services.” Id. Because Congress intended for the Act to rein in the “highly
inflated payment rates” it is not surprising that some of the biggest offenders of price increases, such
as Air Methods, saw their stock decline after the Act went into effect. See Loren Adler et al., High Air
Ambulance Charges Concentrated in Private Equity-Owned Carriers, USC-Brookings Schaeffer on
Health Policy (Oct. 13, 2020) (AR 4769) (noting that Air Methods Corporation, in particular, took
advantage of this market distortion by increasing its prices for medical transports by 283 percent from
2007 to 2016.) That the stock decline can be pegged to when the Act went into effect, and not when
the final rule was issued, further supports that it was the Act itself, not the final rule, that aims to tamp
down on excessive payments. LifeNet Reply at 8.




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other ongoing arbitrations. The final rule thus furthers the Congressional purpose for the Act’s

independent dispute resolution mechanism to “reduce premiums and the deficit,” H.R. Rep. No. 116-

615, at 58 (AR 335), a goal that could only be accomplished if that mechanism were structured to

facilitate a streamlined and efficient arbitration process, see id. at 57 (AR 334). While there will always

be some administrative costs incurred in the arbitration process, “[i]f those administrative costs are

high enough, they could undermine the effectiveness of the [Act.]” Examining Surprise Billing:

Protecting Patients from Financial Pain: Hearing Before the H. Comm. on Educ. and Labor,

Subcomm. on Health, Employment, Labor and Pensions, 116th Cong. 8 (2019) (statement of Christen

Linke Young, Brookings Inst.) (AR 460). The volume of arbitrations initiated under the Act has already

far exceeded the Departments’ initial expectations, burdening arbitrators with high caseloads and

administrative costs. Ctrs. for Medicare & Medicaid Servs., Calendar Year 2023 Fee Guidance for the Federal

[IDR] Process under the No Surprises Act, at 5 (Oct. 31, 2022). Adding additional responsibilities and tasks

to the arbitrations could make the burden on IDR entities unworkable and could threaten a mass

exodus of certified IDR entities from the program.

        Plaintiffs’ other arguments for why the final rule is arbitrary and capricious for allegedly failing

to take into account supposed “problems” with how the QPA is calculated are misdirected, incorrect,

or both.7 Most of Plaintiffs’ arguments about flaws in the QPA calculation and disclosure requirements

are really arguments against the statute itself: Congress required the arbitrators to consider the QPA

in every single dispute, and the supposed “flaws” that Plaintiffs identify would, under Plaintiffs’ theory,
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            Plaintiffs and their amici, for example, fault the Departments for not allowing arbitrators to
consider the impact that single case agreements would have had if included in the QPA. But this is
not a “flaw” in the calculation of the QPA or the final rule, but a deliberate action taken by the
Departments to ensure that the QPA calculation methodology reflects Congressional intent. By
limiting the calculation to contracts that have been negotiated in advance, the Departments decided
to exclude “single case agreements” that may be negotiated between a provider and a health plan or
issuer, either at the time that a service is performed, or after the fact. See Requirements Related to Surprise
Billing; Part I, 86 Fed. Reg. 36,872, 36,889 (July 13, 2021). The Departments excluded these agreements
from the calculation of the median because they understood the statutory term “contracted rate” to
refer “only to the rate negotiated with providers and facilities that are contracted to participate in any
of the networks of the plan or issuer under generally applicable terms of the plan or coverage [to
exclude] rates negotiated with other providers and facilities.” Id. The Departments found that “this
definition most closely aligns with the statutory intent of ensuring that the QPA reflects market rates
under typical contract negotiations.” Id.




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infect any arbitration that considers the QPA. Plaintiffs chose not to challenge the regulations

governing the calculation of the qualifying payment amount in this lawsuit, instead attempting to attack

those regulations in a separate suit.8 Meanwhile, “[t]he Departments are continuing to consider

comments on the July 2021 interim final rules about whether additional disclosures related to the QPA

calculation methodology should be required to be provided with an initial payment or notice of denial

of payment, or upon request.” 87 Fed. Reg. 52,626.9 If Plaintiffs wish to challenge the QPA calculation

methodology and disclosure requirements, the comment process for the July 2021 interim final rule

was the place to do so.

B.      The Relevance Provision Is A Reasonable Procedural Rule Entitled To Deference And
        Is Not Arbitrary Or Capricious.
        The final rule reasonably instructs arbitrators to give weight only to relevant information,

meaning information that bears on which “offer best represents the value of the item or service under

dispute.” 87 Fed. Reg. at 52,628; See 45 C.F.R. § 149.510(c)(4)(iii)(E). This rule is not only consistent

with the statutory language allowing parties to submit information that “relates to” the offers but it

also does not impose a heightened evidentiary burden on non-QPA information. It does not, contrary

to Plaintiffs’ puzzling contention, “prevent[] arbitrators from giving weight to the other statutory
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           Perhaps recognizing the futility of the relief they seek here, Plaintiffs have filed new lawsuits
challenging the regulations governing the calculation of the QPA. Tex. Med. Ass’n v. U.S. Dep’t of Health
& Hum. Servs., No. 6:22-cv-450-JDK (E.D. Tex. Nov. 30. 2022); LifeNet, Inc. v. U.S. Dep’t of Health &
Hum. Servs., No. 6:22-cv-00453-JDK (E.D. Tex. Dec. 1, 2022).
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           LifeNet again devotes substantial space in its brief to taking issue with how the QPA is
calculated, including that the QPA calculation does not depend on how many times a particular item
or service was provided under a contract. LifeNet Reply at 2-3. Defendants have not, as LifeNet
claims, “waived” a response to LifeNet’s arguments that the QPA calculation methodology is flawed.
Defendants pointed out that in this lawsuit challenging the IDR process the regulations governing the
calculation of the QPA are not at issue and LifeNet does not challenge them here. Defs.’ Mot. at 37
n.9. A decision from this court vacating the final rule would not address LifeNet’s complaints with
how the QPA is calculated, nor would it eliminate the statutory requirement that arbitrators consider
the QPA in the IDR process. At any rate, the Departments did issue guidance addressing the issue of
what Plaintiffs call “ghost rates” and clarified that, if a plan’s or issuer’s contracted rates for a service
code vary based on provider specialty, plans and issuers are required to calculate a median contracted
rate separately for each provider specialty, which will ensure the median rate calculation includes only
providers who actually provide the item or service. FAQs about Affordable Care Act and Consolidated
Appropriations Act, 2021 Implementation Part 55 at 16-17 (Aug. 19, 2022) available at
https://www.dol.gov/sites/dolgov/files/EBSA/about-ebsa/our-activities/resource-
center/faqs/aca-part-55.pdf.




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factors,” TMA Reply at 3, but instead instructs that arbitrators should give weight only to information,

including information relating to the statutory factors, that is relevant to the task at hand: deciding

which offer best represents the value of the item or service. The final rule does not restrict arbitrators’

discretion in deciding what information is relevant. It reflects a reasonable evidentiary rule that the

Departments promulgated consistent with their obligation to establish one IDR process under which

arbitrators make payment determinations.

        The statute requires that any information submitted must, as a precondition, “relat[e] to such

offer” and then goes on to explain that information that relates to an offer may include information

relating to the statutory factors listed in subparagraph (C)(ii). 42 U.S.C. § 300gg-111(c)(5)(B)(ii).

(parties “may each submit to the certified IDR entity with respect to such determination any

information relating to such offer submitted by either party, including information relating to” the

statutory factors) (emphasis added); id. § 300gg-112(b)(5)(A)(ii) (governing air ambulances). The most

natural reading of the statute is that the statutory factors listed are examples of types of information

that may “relat[e] to such offer” but not a mandate that those categories of information will always

relate to every offer. As even Plaintiffs admit, the word “including” can sometimes introduce examples

that are “broader than the general category[.]” Massachusetts v. EPA, 549 U.S. 497, 557 (2007) (Scalia,

J., dissenting). Such is the case here—any information that the parties submit should relate to the

offer, or else there would be no need for that information to be presented to the arbitrator in the first

place. And it is not difficult to conceive of examples where information under the statutory factors

might have no bearing on which offer best represents the value of the qualified IDR item or service

at issue. For example, the fact that an item or service was performed in a Level One trauma center

capable of handling complex services may not have any bearing on the value of the item or service if

the item or service at issue was extremely simple or routine and could have been performed in a facility

of any level.

        At any rate, the relevance rule does not eliminate the requirement that the arbitrator must

consider all the information before her, including all of the information that relates to the statutory

factors. See 45 C.F.R. § 149.510(c)(4)(iii)(B). But, as discussed above, the arbitrator must, at the end of



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the day, select one offer over another, and in doing so must consider which pieces of information tip

the scales in favor of the selected offer. Thus, the relevance rule requires the arbitrator to consider all

the information and then, in making her decision of which offer to select, to give weight only to

information that is relevant, which the Departments have defined as information that “tends to show

that the offer best represents the value of the item or service under dispute.” 87 Fed. Reg. 52, 628.

Basing a decision on information that “tends to show that the offer best represents the value of the

item or service under dispute” is hardly arbitrary or capricious. Id.

        The relevance rule likewise does not impose a heightened evidentiary burden on any non-QPA

information that the QPA is not itself required to meet, because the QPA will always be relevant to

the parties’ offers. Because the QPA—which, as the median of the contracted rates for the same or

similar item or service, is designed to be a rough proxy for the market value of the item or service—

will always be relevant to determining the value of the item or service, it will always pass any relevancy

test imposed on it. In other words, even if a different final rule required arbitrators to separately

evaluate the relevance of the QPA, the difference would be immaterial, because the QPA will always

be relevant. The final rule does not subject non-QPA information to any relevance requirement that

the QPA does not itself meet.

C.      The Rule to Avoid Double Counting Information Is A Reasonable Procedural Rule
        Entitled To Deference And Is Not Arbitrary Or Capricious.
        The rule against double counting information is likewise a reasonable procedural rule that is

intended to prevent arbitrators from giving any single piece of information undue weight, driving the

arbitrator’s selection away from the offer that best represents the value of the item or service at issue.

In setting the process for selecting the offer that best represents the value of the qualified IDR item

or service, the final rule explains “the certified IDR entity should not give weight to information to

the extent . . . it is already accounted for by the qualifying payment amount . . . or other credible

information.” 45 C.F.R. § 149.510(c)(4)(iii)(E). As the Departments explained, the purpose of this

provision is “to avoid weighting the same information twice.” 87 Fed. Reg. at 52,628.

        The double counting rule does not give preference to the QPA. As Plaintiffs recognize, the




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admonition against double counting applies to any information submitted by the parties, not just the

QPA. See id. (“the certified IDR entity should evaluate the information and should not give weight to

that information if it is already accounted for by any of the other information submitted by the

parties”). And it is consistent with the statutory requirement to consider all the information relating

to an offer submitted by either party, including information pertaining to the statutory factors

described in 42 U.S.C. § 300gg-111(c)(5)(C)(ii) or, in the case of air ambulances 42 U.S.C. § 300gg-

112(b)(5)(C)(ii), and within the Departments’ regulatory authority to prescribe order to the

decisionmaking process, see Am. Hosp. Ass’n, 499 U.S. at 612. The double counting rule is a reasonable

procedural rule that instructs the arbitrators, when faced with a voluminous record of information

that contains the same piece of information multiple times, not to give double or triple weight to any

piece of information when deciding which information counsels in favor of selecting which offer. By

discouraging arbitrators from giving outsized weight to a single piece of information that is already

accounted for—whether accounted for in the QPA or in other information submitted by the parties,

the final rule is designed to ensure that arbitrators will select the offer that best represents the true

value of the item or service.

        The double counting rule likewise does not require arbitrators to ignore any piece of

information just because the information is accounted for multiple times. The arbitrator is, as always,

required to consider all of the information before her, but when deciding which information tips the

scale in favor of one offer or the other, should evaluate whether some information is already accounted

for multiple times. An arbitrator may conclude that a facility’s case mix and scope of services, for

example, is already reflected in the contracted rates between the payer and the facility during the

previous four years. The final rule instructs the arbitrator to consider that information, but not to give

it outsized weight.

        Plaintiffs’ claim that Defendants ignored their contention that the rule against double counting

information is also arbitrary and capricious because it is “unworkable,” TMA Reply at 27, is mistaken.

As Defendants explained, with accompanying examples, in their opening brief, Defs.’ Mot. at 34-35,

the rule instructs arbitrators not to give weight to the same information repeatedly, even though it



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may come up in several contexts. By explaining how this rule would work in practice, Defendants

demonstrated that it is not “unworkable” and therefore not arbitrary and capricious. Instead, it reflects

a reasonable procedural and methodological rule that is well within the Departments’ discretion to

establish.

        Plaintiffs’ claimed confusion over the double-counting rule is, at any rate, belied by statements

in their brief demonstrating their clear understanding of how the rule would operate. They claim

confusion over how arbitrators could determine “whether additional case-specific information is

‘accounted for’ or ‘reflected’ in the QPA—a median number based on contracts from 2019.” TMA

Reply at 28. But in doing so, they demonstrate a very clear understanding of when exactly the double-

counting rule would come into play and what sort of information would not be captured in the QPA

(even though the double-counting rule applies to all information, not just information accounted for

in the QPA). Generally, the QPA is based on median contracted rates, and so necessarily cannot reflect

case-specific information or circumstances. See, e.g., id. at 17 (observing that, because the QPA is

“indicative of the median in-network provider’s level of training, the characteristics of the individual

provider that performed the service” may not be fully captured). In many cases, the QPA may already

take into account non-case-specific information, i.e., information that will be true of the qualified IDR

item or service in every case involving that item or service. For example, if a particular billing service

code applies only to patients whose condition is high acuity, the QPA may already reflect that the

patient was high acuity. But the QPA cannot, and indeed will not, reflect case-specific or individual

circumstances, such as a patient who is unusually high acuity. The QPA is a median, a rough proxy

for a typical market rate price for a given item or service. It does not necessarily account for case-

specific circumstances that parties may bring to the arbitrator’s attention to influence the selection of

the offer. Plaintiffs’ understanding that the QPA might not account for individual, unique, or case-

specific circumstances underscores that they are capable of understanding how the double-counting

rule would apply to information already accounted for in the QPA. The rule is not unworkable, and

therefore is not arbitrary and capricious.

        Plaintiffs also challenge an analogous provision of the final rule that instructs arbitrators to



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explain in their written decisions, if the arbitrator relied on any of the categories of additional

information, why the arbitrator concluded that the information was not already reflected in the QPA.

45 C.F.R. § 149.510(c)(4)(iv)(B). Arbitrators are also required to explain in their written decision what

information they determined demonstrated that the offer selected best represented the value of the

item or service and to explain the weight given to the QPA and any additional credible information.

Id. This provision is not arbitrary and capricious, but instead represents a reasonable procedural rule

to guide the Departments in their study and evaluation of the new IDR process. As the Departments

explained, they “are continuing to consider comments on the July 2021 interim final rules about

whether additional disclosures related to the QPA calculation methodology should be required.” 87

Fed. Reg. at 52,626. Additional explanation from arbitrators about why they determined that relevant

information was not accounted for by the QPA can help the Departments continue to evaluate

whether additional QPA disclosure requirements are necessary. And the requirement that arbitrators

provide a written explanation for their decision applies in every circumstance—regardless of which

offer the arbitrator has selected. 45 C.F.R. § 149.510(c)(4)(iv)(B). Given that arbitrators are already

required to explain in writing how they reached their decision, Plaintiffs’ speculation that requiring

arbitrators to also explain how useful they found the QPA would cause arbitrators to “throw up their

hands” at having to write even one additional sentence is baseless. TMA Reply at 25.

D.      Guiding Arbitrators to Begin with the QPA Is Not Arbitrary And Capricious.
        The Act requires the arbitrator to consider the QPA in every single arbitration, and it is the

only piece of information that will always be submitted to the arbitrator. 42 U.S.C. § 300gg-

111(c)(5)(C)(i); id. § 300gg-112(b)(5)(C)(i). It was thus reasonable for the final rule to guide the

arbitrator to begin with this one guaranteed piece of information and then consider the other

information, found under the statutory heading “additional circumstances” in those instances where

the parties choose to submit additional information. 45 C.F.R. § 149.510(c)(4)(iii)(B). The statutory

heading “additional circumstances” underscores why the final rule is reasonable, and not arbitrary and

capricious, here. These circumstances could only be “additional,” if there were some other




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circumstances already in place that they could be added to—here, the QPA. The statute thus

demonstrates that the analysis can begin with the QPA, and then should move on to take into account

the other, “additional,” statutory factors, if they are present. See In re Border Infrastructure Envtl. Litig.,

915 F.3d 1213, 1223 (9th Cir. 2019) (“In simple terms, ‘additional’ means ‘supplemental.’”).

        Plaintiffs likewise minimize the fact that the arbitrator is not instructed to give extra weight to

the QPA or defer to it in any way. 87 Fed. Reg. at 52,628 (“these final rules do not require certified

IDR entities to default to the offer closest to the QPA or to apply a presumption in favor of that

offer”). Thus, unless an arbitrator blatantly disregards the Departments’ clear guidance, considering

the QPA first should not lead arbitrators to place any greater weight on that factor. The arbitrator’s

task remains to select the offer that best represents the value of the item or service, regardless of

whether the arbitrator considers the QPA as the first factor or the last, or the only factor, in instances

where the parties have chosen to submit no additional information.

IV.     Plaintiffs’ Requested Remedies Are Improper And Unnecessary.
        If the Court disagrees with the Departments’ arguments, it should remand the matter without

vacating the challenged provisions. Contrary to Plaintiffs’ argument that vacatur should be ordered as

a matter of course, TMA Reply at 29, “[o]nly in ‘rare circumstances’ is remand for agency

reconsideration not the appropriate solution.” Tex. Ass’n of Mfrs. v. U.S. Consumer Prod. Safety Comm’n,

989 F.3d 368, 389 (5th Cir. 2021) (quoting O’Reilly v. U.S. Army Corps of Eng’rs, 477 F.3d 225, 238-39

(5th Cir. 2007)). Any argument that vacatur would not be highly disruptive, TMA Reply at 29, is easily

disproven by the evidence of arbitrations initiated thus far under the Act: over 90,000 disputes have

been initiated, far exceeding the Departments’ initial estimates, yet only about 3,500 payment

determinations had been issued as of October. Ctrs. For Medicare & Medicaid Servs., Calendar Year

2023 Fee Guidance for the Federal IDR Process under the No Surprises Act at 5 (Oct. 31, 2022). The high

number of disputes that cannot be resolved through negotiation may be the result of a less predictable

IDR process, which undermines parties’ abilities to accurately estimate the risks and benefits of

negotiating a settlement. And the lack of clear guidance to the arbitrators may also be contributing to




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delays in reaching payment determinations. Vacatur of the final rule would further exacerbate the

unmanageable and backlogged IDR process. Id.

        And remanding with specific instructions is both unnecessary and beyond the scope of judicial

review. When reviewing actions of administrative agencies, a court may not “substitute its judgment

for that of the agency,” FCC v. Fox Television Stations, Inc., 556 U.S. 502, 513 (2009) (internal quotation

marks omitted), but instead assess only whether the decision was “based on a consideration of the

relevant factors and whether there has been a clear error of judgment,” Citizens to Preserve Overton Park,

Inc. v. Volpe, 401 U.S. 402, 416 (1971). When a “court reviewing agency action determines that an

agency made an error of law, the court’s inquiry is at an end.” Palisades Gen. Hosp. Inc., v. Leavitt, 426

F.3d 400, 403 (D.C. Cir. 2005). Remand with instructions is also unnecessary. The Departments have

demonstrated a good-faith commitment to adhering to the reasoning in this Court’s opinions and

would do so again in the future. See 87 Fed. Reg. at 52,624-25 (providing detailed discussion of changes

made in response to this Court’s opinions). The Departments took this Court’s prior opinions

seriously and considered them carefully in the final rule, as the preamble repeatedly shows. They have

in no way demonstrated a “stubborn refusal” to follow this Court’s guidance. TMA Reply at 29

(quoting Loc. Joint Exec. Bd. of Las Vegas v. NLRB, 657 F.3d 865, 873 (9th Cir. 2011)).

        The Court should likewise limit the relief to the specific parties in this lawsuit. The Court’s

Article III judicial power extends only to “vindicat[ing] the individual rights of the people appearing

before it.” Gill v. Whitford, 138 S. Ct. 1916, 1933 (2018). Setting aside the challenged portions of the

final rule only with respect to these Plaintiffs would remedy the injuries sustained by Plaintiffs here.

Dep’t of Homeland Sec. v. New York, 140 S. Ct. 599, 600 (2020) (Gorsuch, J., concurring) (“Equitable

remedies, like remedies in general, are meant to redress the injuries sustained by a particular plaintiff

in a particular lawsuit.”).

                                           CONCLUSION

        For the foregoing reasons, the Defendants’ motion for summary judgment should be granted,

and the Plaintiffs’ motion for summary judgment should be denied.




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Dated: December 7, 2022            Respectfully submitted,


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                                CERTIFICATE OF SERVICE



       I hereby certify on this 7th day of December, 2022, a true and correct copy of this document

was served electronically by the Court’s CM/ECF system to all counsel of record.




                                             /s/ Anna Deffebach
                                             ANNA DEFFEBACH




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